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                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                                                 STATE v. HENDERSON
                                                  Cite as 301 Neb. 633



                                         State of Nebraska, appellee, v.
                                        Tillman T. Henderson, appellant.
                                                     ___ N.W.2d ___

                                         Filed November 30, 2018.   No. S-17-535.

                1.	 Postconviction: Constitutional Law: Appeal and Error. In appeals
                    from postconviction proceedings, an appellate court reviews de novo a
                    determination that the defendant failed to allege sufficient facts to dem-
                    onstrate a violation of his or her constitutional rights or that the record
                    and files affirmatively show that the defendant is entitled to no relief.
                2.	 Postconviction: Constitutional Law. Postconviction relief is a very
                    narrow category of relief, available only to remedy prejudicial constitu-
                    tional violations that render the judgment void or voidable.
                3.	 Postconviction: Appeal and Error. On appeal from the denial of
                    postconviction relief without an evidentiary hearing, the question is not
                    whether the movant was entitled to relief by having made the requisite
                    showing. Instead, it must be determined whether the allegations were
                    sufficient to grant an evidentiary hearing.
                4.	 Postconviction: Pleadings. The allegations in a motion for postcon-
                    viction relief must be sufficiently specific for the district court to
                    make a preliminary determination as to whether an evidentiary hearing
                    is justified.
                5.	 Postconviction: Pleadings: Proof: Constitutional Law. In a proceed-
                    ing under the Nebraska Postconviction Act, the application is required
                    to allege facts which, if proved, constitute a violation or infringement
                    of constitutional rights, and the pleading of mere conclusions of fact
                    or of law is not sufficient to require the court to grant an eviden-
                    tiary hearing.
                6.	 Postconviction: Proof: Constitutional Law. A postconviction eviden-
                    tiary hearing must be granted when the facts alleged, if proved, would
                    justify relief, or when a factual dispute arises as to whether a constitu-
                    tional right is being denied.
                7.	 Postconviction: Effectiveness of Counsel: Appeal and Error. When a
                    defendant was represented both at trial and on direct appeal by the same
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             Nebraska Supreme Court A dvance Sheets
                     301 Nebraska R eports
                            STATE v. HENDERSON
                             Cite as 301 Neb. 633
     counsel, the defendant’s first opportunity to assert ineffective assistance
     of counsel is in a motion for postconviction relief.
 8.	 Effectiveness of Counsel: Proof. To prevail on a claim of ineffective
     assistance of counsel under Strickland v. Washington, 466 U.S. 668, 104
     S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the defendant must show that
     his or her counsel’s performance was deficient and that this deficient
     per­formance actually prejudiced the defendant’s defense. A court may
     address the two prongs of this test, deficient performance and prejudice,
     in either order.
 9.	 Postconviction: Effectiveness of Counsel: Proof. In order to establish
     a right to postconviction relief based on a claim of ineffective assistance
     of counsel, the defendant has the burden first to show that counsel’s per-
     formance was deficient; that is, counsel’s performance did not equal that
     of a lawyer with ordinary training and skill in criminal law in the area.
10.	 Effectiveness of Counsel: Presumptions. In determining whether trial
     counsel’s performance was deficient, courts give counsel’s acts a strong
     presumption of reasonableness.
11.	 Trial: Effectiveness of Counsel: Appeal and Error. An appellate court
     will not judge an ineffectiveness of counsel claim in hindsight.
12.	 ____: ____: ____. An appellate court must assess trial counsel’s perform­
     ance from counsel’s perspective when counsel provided the assistance.
13.	 ____: ____: ____. When reviewing claims of ineffective assistance, an
     appellate court will not second-guess trial counsel’s reasonable strategic
     decisions.
14.	 Effectiveness of Counsel: Proof. To establish the prejudice prong of a
     claim of ineffective assistance of counsel, the defendant must demon-
     strate a reasonable probability that but for counsel’s deficient perform­
     ance, the result of the proceeding would have been different. A reason-
     able probability does not require that it be more likely than not that
     the deficient performance altered the outcome of the case; rather, the
     defendant must show a probability sufficient to undermine confidence in
     the outcome.
15.	 Verdicts: Juries: Jury Instructions: Presumptions. Absent evidence
     to the contrary, it is presumed that a jury followed the instructions given
     in arriving at its verdict.

  Appeal from the District Court for Douglas County: J
Russell Derr, Judge. Affirmed.
   Gregory A. Pivovar for appellant.
   Douglas J. Peterson, Attorney General, and Nathan A. Liss
for appellee.
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           Nebraska Supreme Court A dvance Sheets
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                       STATE v. HENDERSON
                        Cite as 301 Neb. 633
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke, and
Papik, JJ., and Welch, Judge.
   Papik, J.
   Tillman T. Henderson was convicted of first degree murder,
attempted first degree murder, and related firearms offenses.
We affirmed his convictions on direct appeal. See State v.
Henderson, 289 Neb. 271, 854 N.W.2d 616 (2014). Henderson
now appeals the order of the district court for Douglas County
that denied his motion for postconviction relief without an
evidentiary hearing. He alleges various claims of ineffective
assistance of trial and appellate counsel. Finding that the dis-
trict court did not err by denying Henderson’s postconviction
claims without an evidentiary hearing, we affirm.
                        I. BACKGROUND
                              1. Trial
   A detailed recitation of the evidence at trial can be found in
our opinion on direct appeal. See State v. Henderson, supra.
   In summary, Henderson was charged in connection with
the shooting death of Matthew Voss and the nonfatal shoot-
ing of Antonio Washington. Evidence at Henderson’s jury trial
showed that in the early morning hours of February 18, 2012,
Voss and Antonio Washington both sustained gunshot wounds
after a fight broke out at an after-hours party in downtown
Omaha, Nebraska. Witnesses reported seeing two men fir-
ing guns. After a person at the scene identified Henderson to
a police officer as one of the shooters, police apprehended
Henderson as he was running from the scene of the incident.
Henderson was in possession of one gun when he was arrested,
and a police officer saw him throw another gun under a vehicle
as the officer was chasing him. Forensic evidence presented at
trial tied bullets and casings found at the scene of the shootings
to those guns. DNA testing indicated that blood found on cloth-
ing worn by Henderson had come from Voss.
   The jury found Henderson guilty of first degree murder,
attempted first degree murder, two counts of use of a deadly
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                       STATE v. HENDERSON
                        Cite as 301 Neb. 633
weapon to commit a felony, and possession of a deadly weapon
by a prohibited person.

                       2. Direct A ppeal
   Represented by the same counsel that represented him
at trial, Henderson appealed his convictions. See State v.
Henderson, supra. He made numerous assignments of error
pertaining to pretrial and trial rulings. This court affirmed
Henderson’s convictions and sentences. The U.S. Supreme
Court denied Henderson’s petition for certiorari. See Henderson
v. Nebraska, ___ U.S. ___, 135 S. Ct. 2845, 192 L. Ed. 2d 881(2015).

                 3. Postconviction Proceedings
   Following direct appeal, Henderson filed an application for
postconviction relief. He alleged various instances of inef-
fective assistance of trial and appellate counsel. In response,
the State filed a motion to dismiss. The district court denied
postconviction relief without an evidentiary hearing. It deter-
mined that Henderson had failed to show either that he had
received deficient representation or that he had suffered preju-
dice. Henderson now appeals that order.

                II. ASSIGNMENTS OF ERROR
   Henderson assigns, rephrased and summarized, that the dis-
trict court erred in denying him an evidentiary hearing on
his application for postconviction relief, which alleged vari-
ous instances of ineffective assistance of counsel at trial and
on appeal.

                 III. STANDARD OF REVIEW
   [1] In appeals from postconviction proceedings, an appel-
late court reviews de novo a determination that the defendant
failed to allege sufficient facts to demonstrate a violation of his
or her constitutional rights or that the record and files affirma-
tively show that the defendant is entitled to no relief. State v.
Torres, 300 Neb. 694, 915 N.W.2d 596 (2018).
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
                         IV. ANALYSIS
   [2,3] Before turning to Henderson’s specific arguments on
appeal, we review the general principles governing postcon-
viction actions asserting claims of ineffective assistance of
counsel. Postconviction relief is a very narrow category of
relief, available only to remedy prejudicial constitutional vio-
lations that render the judgment void or voidable. State v.
Haynes, 299 Neb. 249, 908 N.W.2d 40 (2018). On appeal from
the denial of postconviction relief without an evidentiary hear-
ing, the question is not whether the movant was entitled to
relief by having made the requisite showing. Instead, it must
be determined whether the allegations were sufficient to grant
an evidentiary hearing. Id.   [4-6] The allegations in a motion for postconviction relief
must be sufficiently specific for the district court to make
a preliminary determination as to whether an evidentiary
hearing is justified. Id. In a proceeding under the Nebraska
Postconviction Act, the application is required to allege facts
which, if proved, constitute a violation or infringement of
constitutional rights, and the pleading of mere conclusions of
fact or of law is not sufficient to require the court to grant an
evidentiary hearing. Id. An evidentiary hearing must be granted
when the facts alleged, if proved, would justify relief, or when
a factual dispute arises as to whether a constitutional right is
being denied. Id.   [7,8] Here, Henderson bases his claim to postconviction
relief on ineffective assistance of trial and appellate counsel.
When, as here, a defendant was represented both at trial and
on direct appeal by the same counsel, the defendant’s first
opportunity to assert ineffective assistance of counsel is in a
motion for postconviction relief. State v. Ely, 295 Neb. 607,
889 N.W.2d 377 (2017). To prevail on a claim of ineffec-
tive assistance of counsel under Strickland v. Washington,
466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the
defendant must show that his or her counsel’s performance
was deficient and that this deficient performance actually
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
prejudiced the defendant’s defense. State v. Newman, 300 Neb.
770, 916 N.W.2d 393 (2018). A court may address the two
prongs of this test, deficient performance and prejudice, in
either order. State v. Schwaderer, 296 Neb. 932, 898 N.W.2d
318 (2017).
   [9-13] In order to establish a right to postconviction relief
based on a claim of ineffective assistance of counsel, the
defendant has the burden first to show that counsel’s perform­
ance was deficient; that is, counsel’s performance did not
equal that of a lawyer with ordinary training and skill in crim-
inal law in the area. State v. Haynes, supra. In determining
whether trial counsel’s performance was deficient, courts give
counsel’s acts a strong presumption of reasonableness. State v.
Alfredson, 287 Neb. 477, 842 N.W.2d 815 (2014). An appel-
late court will not judge an ineffectiveness of counsel claim
in hindsight. State v. Iromuanya, 282 Neb. 798, 806 N.W.2d
404 (2011). We must assess trial counsel’s performance from
counsel’s perspective when counsel provided the assistance.
Id. When reviewing claims of ineffective assistance, we will
not second-guess trial counsel’s reasonable strategic deci-
sions. Id.   [14] Next, the defendant must show that counsel’s deficient
performance prejudiced the defense in his or her case. State v.
Haynes, supra. To establish the prejudice prong of a claim of
ineffective assistance of counsel, the defendant must demon-
strate a reasonable probability that but for counsel’s deficient
performance, the result of the proceeding would have been
different. See State v. Schwaderer, supra. A reasonable prob-
ability does not require that it be more likely than not that the
deficient performance altered the outcome of the case; rather,
the defendant must show a probability sufficient to undermine
confidence in the outcome. State v. Custer, 298 Neb. 279, 903
N.W.2d 911 (2017).
   With these principles in mind, we turn to Henderson’s
arguments.
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                       STATE v. HENDERSON
                        Cite as 301 Neb. 633
                   1. A lleged Failure to Call
                         Other Witnesses
   In his motion for postconviction relief, Henderson asserted
that trial counsel was ineffective in failing to interview, depose,
and call three additional witnesses to testify. He now contends
that the district court erred in denying him an evidentiary
hearing concerning these claims. For reasons explained below,
we disagree.

                      (a) Timothy Washington
   First, Henderson claims his trial counsel should have called
Timothy Washington. Henderson argues that had Timothy
Washington been called to testify, he would have rebutted the
testimony of a witness called by the State, Vasili Petrihos. At
trial, Petrihos testified that a young black man, who was later
apprehended and identified as Henderson, was “tensed up and
all hyped up,” “huffing and puffing,” and “getting aggravated”
and appeared “ready to fight” near the shooting site immedi-
ately prior to the shooting.
   In his motion for postconviction relief, however, Henderson
did not reference Petrihos or his testimony. Henderson asserted
only that Timothy Washington was willing to testify about
Henderson’s “demeanor and the direction . . . Henderson had
been headed . . . minutes before the shooting” and that such tes-
timony could have impeached the testimony of other unspeci-
fied witnesses as to Henderson’s whereabouts, demeanor, and
actions in the minutes before the shooting. The motion did not
explain what Timothy Washington would have testified regard-
ing Henderson’s location, demeanor, or direction.
   The lack of explanation as to what Timothy Washington
would have testified is relevant because in a motion for
postconviction relief, a defendant is required to specifically
allege what the testimony of potential witnesses would have
been if they had been called. See State v. Abdullah, 289 Neb.
123, 853 N.W.2d 858 (2014). Absent specific allegations,
a motion for postconviction relief is subject to dismissal
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
without an evidentiary hearing. See id. Because Henderson’s
motion did not describe Timothy Washington’s alleged testi-
mony with sufficient specificity, an evidentiary hearing was
not warranted.

                       (b) Deonta Marion
   Next, Henderson asserts that he is entitled to postconviction
relief because his trial counsel failed to call Deonta Marion.
Henderson alleged in his motion for postconviction relief that
Marion gave a statement to police regarding the shooting.
Henderson attached a document to his motion that appears
to be a police report documenting that statement. The report
stated that Marion described one shooter as wearing a “‘white
or a light-colored short-sleeve shirt’” and the other as wearing
“‘dark clothing.’” Later in the report, the author noted that
Marion had initially provided a false name to law enforce-
ment. Henderson argues that had Marion been called, his testi-
mony regarding the shooters’ clothing would have undercut the
State’s theory that Henderson was one of the shooters because
Henderson was wearing a tan “Carhartt” jacket when he was
apprehended. Brief for appellant at 24.
   We recently addressed two related cases in which defend­
ants contended that trial counsel failed to call witnesses
who would have identified the perpetrators of crimes as
having different characteristics than the defendants charged
with those crimes. In State v. Newman, 300 Neb. 770, 916
N.W.2d 393 (2018), and State v. Stricklin, 300 Neb. 794, 916
N.W.2d 413 (2018), the codefendants, who were both African
American, contended that their counsel deficiently failed to
call witnesses. They claimed the witnesses would have tes-
tified that the perpetrators were unnamed “‘Mexicans’” or
“‘Latino’s.’” State v. Newman, 300 Neb. at 782, 916 N.W.2d
at 406. Accord State v. Stricklin, supra. We concluded that
these allegations did not show a reasonable likelihood that,
absent the alleged deficiency, the outcome at trial would have
been different.
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
   In so finding, we applied the approach that the U.S. Supreme
Court set forth in Strickland v. Washington, 466 U.S. 668, 104
S. Ct. 2052, 80 L. Ed. 2d 674 (1984), to analyze prejudice:
         “In making [the prejudice] determination, a court
      hearing an ineffectiveness claim must consider the total-
      ity of the evidence before the judge or jury. Some of the
      factual findings will have been unaffected by the errors,
      and factual findings that were affected will have been
      affected in different ways. Some errors will have had
      a pervasive effect on the inferences to be drawn from
      the evidence, altering the entire evidentiary picture, and
      some will have had an isolated, trivial effect. Moreover,
      a verdict or conclusion only weakly supported by the
      record is more likely to have been affected by errors
      than one with overwhelming record support. Taking the
      unaffected findings as a given, and taking due account
      of the effect of the errors on the remaining findings,
      a court making the prejudice inquiry must ask if the
      defendant has met the burden of showing that the deci-
      sion reached would reasonably likely have been different
      absent the errors.”
State v. Newman, 300 Neb. at 782-83, 916 N.W.2d at 407,
quoting Strickland v. Washington, supra. See, also, State v.
Stricklin, supra. In both cases, we concluded that in the con-
text of all the evidence adduced at trial, the omitted testimony
“would not have altered the evidentiary picture and would, at
best, have had an isolated or trivial effect on the jury’s find-
ings.” See State v. Newman, 300 Neb. at 783, 916 N.W.2d at
407. Accord State v. Stricklin, supra.   Similarly, here, there is overwhelming evidentiary support
for the jury’s verdict, which we summarized on direct appeal:
         Henderson was apprehended by police as he was run-
      ning from the scene of the incident. A person who was
      at the scene had identified 	      Henderson to a police
      officer as one of the shooters. The other suspect was not
      apprehended. One gun was found on Henderson’s person
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
      when he was arrested, and a police officer saw Henderson
      throw another gun under a vehicle as the officer was chas-
      ing him.
         Forensic evidence presented at trial indicated that bul-
      lets and casings found at the scene of the shootings had
      been fired from the gun found on Henderson and from the
      gun he was seen throwing under a vehicle. A fingerprint
      on the gun found under the vehicle matched Henderson’s.
      In addition, DNA testing of blood found on the clothing
      worn by Henderson at the time of his arrest indicated that
      the blood had come from Voss.
         The State maintained at trial that Henderson shot Voss
      and [Antonio] Washington to retaliate for an assault on
      Henderson’s friend, Jimmy Levering. Levering and Voss
      had both been inmates at a prison in Florida, and Voss had
      allegedly stabbed and punched Levering.
State v. Henderson, 289 Neb. 271, 274-75, 854 N.W.2d 616,
624 (2014). In addition to the evidence quoted above, text
messages obtained from a cell phone found on Henderson’s
person indicated that the two people exchanging the messages
around the time of the shooting were attempting to meet one
another outside the party where the shooting occurred and that
the individual who stabbed “‘Jb’” was there. Id. at 277, 854
N.W.2d at 625. The background of the cell phone’s screen was
a picture of Jimmy Levering.
   When we weigh the effect of counsel’s allegedly deficient
failure to call Marion against the remaining evidence, we
conclude that there is not a reasonable likelihood the outcome
would have been different had Marion testified. Henderson’s
presence at the scene, his possession of the weapons used
in the shooting, the blood matching the DNA profile of one
of the victims on his clothing, and the evidence of his pre-
meditative intent to retaliate against someone he believed to
be present at the scene are highly suggestive of his guilt. To
reach a different conclusion, the jury would have to find that
just after Henderson had received a text message that someone
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
who had stabbed his acquaintance was at a party in downtown
Omaha, Henderson went to such a party where someone else
shot a person who had assaulted Henderson’s friend Levering
in prison when Henderson happened to be sufficiently nearby
to get blood matching the DNA profile of the victim on his
clothes, and that Henderson somehow took possession of both
guns used in the crime and fled the scene with them. We find
the likelihood of the jury’s reaching such a conclusion to be
exceedingly low.
   Our prejudice analysis is also informed by the fact that
Henderson relied on another account of the shooters’ attire at
trial but was unable to convince the jury of his innocence. The
evidence showed that Henderson was apprehended wearing a
tan Carhartt jacket that had a hood. However, an eyewitness,
Charles Bird, testified that one shooter wore a light-colored
or gray “hoodie” and the other wore a dark-colored hoodie.
Henderson’s counsel highlighted Bird’s testimony during clos-
ing arguments, noting that the witness did not describe a tan
jacket like Henderson wore that night. Even so, the jury found
Henderson guilty.
   The State points to Henderson’s reliance on Bird’s testimony
and contends that it shows that Marion’s testimony would not
have made a difference. In this case, we agree. We can envision
a circumstance in which testimony of a purported eyewitness
that the perpetrator of a crime lacked certain characteristics of
the defendant might corroborate similar testimony of another
purported eyewitness and thus meaningfully assist the defense.
However, for multiple reasons, we do not believe Marion’s
testimony would have had that effect here. First, it is not clear
that Marion’s testimony would have corroborated Bird’s: Bird
identified the shooters as wearing hoodies, and Marion identi-
fied one of the shooters as wearing a short-sleeved shirt. And
even if the chance that Marion’s testimony would undercut
rather than corroborate Bird’s is set to the side, the testimony
would not necessarily have been exculpatory, because there was
evidence that Henderson was wearing a white short-sleeved
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                      STATE v. HENDERSON
                       Cite as 301 Neb. 633
shirt under his jacket. Finally, there is still the overwhelm-
ing evidence of Henderson’s guilt set forth above. Given the
nature of this evidence, we are convinced that the jury would
have reacted to the testimony Henderson claims Marion would
have given the same way it did to the testimony of Bird, which
Henderson relied on at trial.
   Because Marion’s testimony would not have meaningfully
altered the evidentiary picture and any impact on the jury’s
findings would have been isolated and trivial, we hold that the
district court did not err in denying this claim of ineffective
assistance of counsel without an evidentiary hearing.

                      (c) Jermaine Westbrook
   Finally, Henderson contends he should have received an evi-
dentiary hearing on his claim that his counsel was ineffective
for failing to call Jermaine Westbrook to testify. In his motion
for postconviction relief, Henderson alleged that Westbrook
called the 911 emergency dispatch service regarding a sport
utility vehicle (SUV) following the shooting. The record does
not contain a recording or transcript of Westbrook’s 911 call,
but Henderson attached a police report to his application for
postconviction relief that summarized the call:
      WESTBROOK . . . stated to [the] 911 operator that
      he is following the car that the shooter was in. . . .
      WESTBROOK stated the party inside this white SUV is
      the “accessory to the shooting”. . . . WESTBROOK stated
      [that] after he saw the guys do the shooting, they went
      right on 16th and Harney. He stated that one of the shoot-
      ers (masculine) shot the guy in broad (unaudible). 911
      asked WESTBROOK if he knew who the shooters or the
      people in the vehicle were, to which the caller responded
      no. WESTBROOK further described one of the shoot-
      ers as having a brown Carhart [sic] jacket on. He further
      stated that this suspect in the brown Carhart [sic] jacket
      was a black male, approximately five foot five, and short,
      and approximately 20-21 years old. . . . WESTBROOK
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      stated he lost sight of the taillights of the white SUV
      which the possible suspects were in.
   Henderson contends that if Westbrook had been called to
relay the substance of his 911 call, the testimony would have
absolved Henderson because he fled the scene not in an
SUV, but on foot. Henderson’s motion alleges that Westbrook
could have provided information about the departure from
the scene of “at least one of the shooters.” But the police
report indicates that Westbrook claimed to be following the
car that the “shooter,” singular, was in. Henderson’s motion
and the attached exhibit do not explain how Westbrook could
have provided information about the departure of more than
one shooter. The lack of any such explanation is significant.
Testimony by Westbrook that one unidentified shooter fled
in an SUV would not have benefited Henderson. Evidence at
trial established that there were two shooters. Evidence that
the other suspect fled in an SUV would not have disproved the
claim that Henderson shot Voss and Antonio Washington and
then fled on foot.
   As we have already stated, to establish the prejudice prong
of a claim of ineffective assistance of counsel, the defendant
must demonstrate a reasonable probability that but for coun-
sel’s deficient performance, the result of the proceeding would
have been different. See State v. Schwaderer, 296 Neb. 932,
898 N.W.2d 318 (2017). In assessing postconviction claims
that trial counsel was ineffective in failing to call a particu-
lar witness, we have upheld dismissal without an evidentiary
hearing where the motion did not include specific allegations
regarding the testimony which the witness would have given
if called. See, State v. Thorpe, 290 Neb. 149, 858 N.W.2d
890 (2015); State v. Sellers, 290 Neb. 18, 858 N.W.2d 577(2015). And we have held that without such specific allega-
tions, an application for postconviction relief has not alleged
sufficient facts to establish a reasonable probability that the
outcome of trial would have been different if trial counsel had
called those witnesses. See State v. Marks, 286 Neb. 166, 835
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                      STATE v. HENDERSON
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N.W.2d 656 (2013). Here, Henderson’s motion for postconvic-
tion relief does not contain the level of specificity needed to
demonstrate that the outcome would have been different had
Westbrook testified.
   Even if it is assumed Westbrook would have testified to a
belief that he was following an SUV in which both shooters
were riding, we do not believe there is a reasonable probabil-
ity that such testimony would have affected the outcome. In
addition to the overwhelming evidence of Henderson’s guilt
recounted above, had Westbrook been called to testify, the
State would assuredly have elicited from Westbrook another
item contained in the police report summarizing Westbrook’s
911 call—that Westbrook identified one shooter as a “black
male” wearing a “brown Carhart [sic] jacket” and match-
ing Henderson’s physical description. We are confident that
the jury would not have concluded that both shooters were
in an SUV driving away from the scene when Westbrook’s
description of one of the shooters matched the clothing and
physical characteristics of Henderson, who was running away
from the scene of the shooting carrying both guns used and
who was identified to police as the shooter. We find no error
in the district court’s denial of this claim without an eviden-
tiary hearing.

                2. A lleged Failure to Move for
                    Gunshot R esidue Testing
   Henderson also claims that his trial counsel provided inef-
fective assistance by failing to move for gunshot residue test-
ing of other individuals at the scene of the shooting, including
the victims. Henderson argues the district court’s rejection of
this claim without granting an evidentiary hearing was errone-
ous. Again, we disagree.
   Henderson contends that gunshot residue swabs were taken
from Voss, Antonio Washington, and two other individuals
who were present at the scene. Henderson asserts that these
swabs were never submitted for testing and that such testing
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“could have implicated other suspects in the shooting” or
provided him with “alternative theories of defense.” Evidence
introduced at trial, however, demonstrated that gunshot residue
testing would not have made a difference. An officer involved
in the investigation testified that a finding of gunshot residue
on a person does not definitively show that the person had
fired a gun, because a person can also come into contact with
gunshot residue by being in the vicinity of gunfire. Because the
individuals from whom gunshot residue swabs were obtained
either were victims or were known to be at the scene, a finding
of gunshot residue on them would not have implicated them or
exculpated Henderson. In light of this testimony, the correct-
ness of which Henderson does not dispute, Henderson’s coun-
sel could not have acted deficiently by not seeking gunshot
residue testing and Henderson suffered no prejudice.

                3. A lleged Failure to Move for
                   and Compel DNA Testing
   Henderson argues that he received ineffective assistance
when his trial counsel failed to move for DNA testing on a
sample taken from Jeremy Terrell.
   As previously mentioned, shortly before the shooting, text
messages were sent from the cell phone found on Henderson’s
person. Those messages were responses to text messages from
a telephone number assigned to Terrell, also referred to as
“Jay Town.” The correspondence indicated that “Jay Town”
and the recipient were attempting to meet one another outside
the after-hours party where the shooting occurred and that the
individual who stabbed “Jb” was there. Terrell was not appre-
hended at the scene of the shootings. Police later attempted
to interview him, but he refused to provide any information.
Police obtained a DNA sample from Terrell, but the sample
was not tested.
   Law enforcement conducted DNA testing on samples taken
only from Henderson and Voss. That testing led to the con-
clusion that blood found on Henderson’s shirt and shoes had
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come from Voss. It also showed a mixture of DNA from at
least three people on the grip of one of the guns recovered
upon Henderson’s arrest, but testing could not show the iden-
tities of those sources with any degree of certainty. A DNA
analyst explained that because of the mixture, many people
could be indicated and the probability that a random indi-
vidual matched a DNA profile found in the mixture was 1 in
3 for Caucasians, 1 in 2 for African Americans, and 1 in 4 for
Hispanic Americans. The DNA analyst testified that conse-
quently, test results comparing the mixture to Henderson’s and
Voss’ DNA were inconclusive, meaning that she could not be
certain whether either man’s DNA was present or not present
on the gun grip.
    In his application for postconviction relief, Henderson ref-
erenced the mixture of DNA from at least three people and
alleged that testing Terrell’s sample “may have” exculpated
Henderson on its own or led to a more thorough investigation
that “could have” revealed more evidence pointing to “the
actual shooters.” Even if we were to consider Henderson’s
allegation sufficiently specific, he has failed to show ineffec-
tive assistance of counsel. The DNA analyst’s testimony sug-
gests that even if Terrell’s DNA sample had been tested and
compared to the DNA mixture on the gun grip, the result would
have been inconclusive, and Henderson makes no allegation
that the DNA analyst’s testimony was incorrect. Therefore,
Henderson’s motion failed to show a reasonable probability
that DNA testing would have resulted in a different outcome at
trial. In the absence of any prejudice to Henderson, then, the
district court did not err in denying Henderson an evidentiary
hearing concerning DNA testing.

           4. A llegedly Ineffective R esponse to
               Evidence of Gang A ffiliation
   Henderson also asserts that his trial counsel ineffectively
responded to evidence at trial concerning gang affiliation.
Henderson contends that his trial counsel (1) should have taken
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various measures after a police officer testified that Levering
was “kind of an infamous gang member” and (2) should have
objected to the admission of pictures of Levering in which
Henderson claims Levering is making gang-related hand ges-
tures as unfairly prejudicial. Again, we find no error with the
district court’s disposition of this claim.

               (a) Statement Regarding Levering
   The reference to Levering’s being “kind of an infamous gang
member” came about when Det. Nick Herfordt was testifying
regarding the contents of the cell phone found on Henderson
when he was arrested. Herfordt identified a background picture
on the cell phone as a photograph of Levering, and when asked
how he knew that, he answered, “I worked Northeast Omaha
when I was in uniform, and . . . Levering, I guess, was kind of
an infamous gang member . . . .”
   Henderson immediately moved for a mistrial, noting that
the State had agreed in connection with Henderson’s pretrial
motion in limine that it would not introduce evidence regarding
gang affiliations. The trial court denied the motion. The trial
court later asked Henderson’s counsel whether he was moving
to strike Herfordt’s answer, and Henderson’s counsel stated he
was not.
   Henderson now argues his trial counsel should have done
more to respond to Herfordt’s statement. Henderson details var-
ious measures he contends trial counsel should have employed,
including further pressing the motion for a mistrial, asking that
the testimony be stricken, or requesting an admonition or limit-
ing instruction.
   On direct appeal, however, we rejected Henderson’s conten-
tion that he was prejudiced by the trial court’s denial of his
motion for a mistrial. In doing so, we observed that Herfordt’s
gang reference “was an isolated comment” and that the State
did not present any other evidence of gang affiliation on the
part of Henderson or anyone else. State v. Henderson, 289
Neb. 271, 299, 854 N.W.2d 616, 639 (2014). These same facts
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lead us to conclude that Henderson could not show that he
was prejudiced by his counsel’s failure to take additional steps
concerning the comment.
                     (b) Pictures of Levering
    Henderson also contends his trial counsel was deficient
for not objecting to the admission of pictures of Levering as
unfairly prejudicial. According to Henderson, Levering is mak-
ing gang-related hand gestures in the pictures. However, there
was no testimony that Levering’s hand gestures were gang
related. Furthermore, on direct appeal, we did not consider the
photograph itself to be evidence of gang affiliation; we deter-
mined that other than the “‘infamous gang member’” reference,
“the State did not present . . . evidence of gang affiliations.” Id.
at 298, 299, 854 N.W.2d at 638, 639. Having already decided
that the photograph of Levering does not constitute evidence of
gang affiliation, we will not revisit the issue on postconviction
review. See State v. Thorpe, 290 Neb. 149, 156, 858 N.W.2d
880, 887 (2015) (“[a] motion for postconviction relief cannot be
used to secure review of issues which were or could have been
litigated on direct appeal, no matter how those issues may be
phrased or rephrased”).
                5. A llegedly Ineffective R esponse
                    to Text M essage Evidence
   Henderson alleges several instances of ineffective assistance
of counsel relating to a series of text messages admitted at trial.
The text messages were from a cell phone found on Henderson
at the time of his arrest. Henderson’s counsel moved unsuccess-
fully to suppress the messages and also attempted to exclude
evidence from the cell phone via a motion in limine and objec-
tions at trial.
   On direct appeal, Henderson assigned that the trial court
erred in overruling his second motion to suppress evidence
obtained from his cell phone and admitting that evidence,
including text messages and pictures. This court concluded that
the district court had not erred when it overruled the motion
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to suppress or when it admitted evidence obtained from the
search over Henderson’s Fourth Amendment objections. We
also concluded that the district court did not err in admitting
the cell phone evidence over Henderson’s objections based on
hearsay and lack of foundation establishing a chain of custody.
Henderson now claims his counsel was ineffective for not tak-
ing various other steps in response to the text messages. We
disagree as we explain in the sections below.
              (a) Authentication of Text Messages
   First, Henderson contends his counsel was ineffective for not
objecting to a lack of “authentication that . . . Henderson was
the one receiving or sending those text messages.” According
to Henderson, the State would have been unable to oppose
an authentication objection by proving that Henderson was
involved in the text messages.
   The State’s burden of authentication for text messages is
relatively low. The proponent of text messages is not required
to conclusively prove who authored the messages and can
establish foundation through the context of the messages and
testimony that the number belonged to or was regularly uti-
lized by the alleged sender. See State v. Henry, 292 Neb. 834,
875 N.W.2d 374 (2016). Although Henderson asserts that the
State would not have been able to do so had he objected, he
alleges no facts to support this assertion. As pleadings of mere
conclusions of fact or law are not sufficient to require the
court to grant an evidentiary hearing, we find that the district
court did not err in denying this claim without an evidentiary
hearing. See State v. Haynes, 299 Neb. 249, 908 N.W.2d
40 (2018).
                     (b) Limiting Instruction
   At trial, Henderson’s counsel proposed the following instruc-
tion regarding the text messages:
         During this trial the Court admitted some evidence that
      was received for a specific limited purpose. Specifically,
      the incoming text messages received into evidence from
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      the cell phone of [Henderson were] offered to show
      [Henderson’s] state of mind. The content of the text mes-
      sages was not received for the purpose of showing the
      truth of the matter asserted in the incoming text messages.
      You may consider the evidence only for the limited pur-
      pose for which it was received and for no other purpose.
The trial court declined to give this instruction. On direct
appeal, we determined that the text messages were admitted
not for the truth of the statements contained therein but instead
for the purpose of showing their effect on Henderson and were
thus not hearsay. We did not address the limiting instruction
because Henderson’s appellate counsel did not properly raise
the issue on direct appeal. Henderson alleged in his post-
conviction motion that his appellate counsel was deficient in
failing to do so and now alleges on appeal that the district
court erred in denying him an evidentiary hearing to address
the issue.
   We conclude that Henderson was not entitled to an eviden-
tiary hearing on this matter. Even if Henderson’s appellate
counsel had raised the limiting instruction on appeal, it would
not have been grounds for a reversal of his convictions. We
perceive little danger that the jury improperly deliberated
by considering the text messages for the truth of the mat-
ter asserted. The facts asserted in the messages were that an
individual had stabbed “Jb” and that the individual was in the
same area as the author of the text messages. Whether those
facts were true was immaterial. Regardless of whether “Jb”
had actually been stabbed, whether the suspected individual
had done it, or whether that person was in the area described,
the text messages would have suggested that Henderson went
to the area of the shootings with the intent of retaliating
against the individual who he believed stabbed his acquaint­
ance. And this was the nonhearsay purpose for which they
were admitted. No limiting instruction was necessary to pre-
vent the jury from considering the truth of the statements in
the text messages.
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                   (c) Brief Supporting Second
                        Motion to Suppress
   In his application for postconviction relief, Henderson
asserted that his trial counsel was ineffective in failing to prop-
erly brief the trial court concerning the text messages before a
suppression hearing on the second search warrant. Based on a
few words uttered by his trial counsel at a hearing on the mat-
ter, he contended that his trial counsel’s brief only addressed
the second search warrant’s validity, not the suppression of evi-
dence. But the record affirmatively refutes this claim. Both the
second motion to suppress and the brief supporting it sought
to suppress evidence obtained as a result of the second search
warrant, and Henderson’s counsel affirmed this objective later
at the same hearing. In addition, we considered Henderson’s
motions to suppress on direct appeal and ultimately determined
that the trial court did not err in overruling them. This allega-
tion is refuted by the record.

                      (d) Timing of Search
   Henderson asserts that the district court should have granted
him an evidentiary hearing concerning contents from the cell
phone that he believes police may have accessed before obtain-
ing a search warrant. He refers to two allegations of ineffective
assistance of counsel from his motion for postconviction relief:
(1) that his trial counsel failed to mount a Fourth Amendment
challenge to the Omaha Police Department’s search to obtain
the telephone number from the cell phone before securing
a search warrant and (2) that his trial and appellate coun-
sel failed to pursue Fourth Amendment objections to the
download of data from the cell phone that “potentially could
have occurred” before police obtained a search warrant. But
Henderson did not show ineffective assistance of counsel in
either regard.
   As to obtaining the telephone number from the cell phone,
Henderson can show no prejudice. The record shows that
police obtained the telephone number prior to applying for
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any search warrant and that the telephone number was not
necessary for that application. But no evidence at trial uti-
lized the telephone number to demonstrate that the cell phone
belonged to Henderson; nor was the telephone number used to
obtain other evidence through telephone records. The key evi-
dence from the cell phone—photographs of Levering and the
“J Town” text messages—was downloaded from the cell phone
itself. Based on the record, we cannot discern how Henderson
could have suffered prejudice when his counsel did not argue
that the telephone number was prematurely obtained.
   Henderson’s claim that data was downloaded from the cell
phone before police obtained the search warrant also fails,
because the record refutes it. Henderson relies on testimony
by the officer who applied for the search warrant that he was
uncertain whether information was downloaded on the day the
search warrant was obtained. According to Henderson, this
suggests the possibility that the download occurred before
police secured the search warrant and that his counsel was
ineffective in not pursuing the issue. However, the record
demonstrates no such possibility. The same officer testified
that police waited until after obtaining the first search war-
rant to download data and that the second search warrant was
executed in the same manner. Because the record refutes this
claim, Henderson cannot demonstrate ineffective assistance of
trial or appellate counsel.

             6. A llegedly Ineffective R esponse to
                 Testimony of R amone Narvaez
   Next, Henderson asserts that he received ineffective assist­
ance both at trial and on appeal concerning his counsel’s
response to testimony of Ramone Narvaez. Narvaez, a cor-
rectional officer from a federal penitentiary in Florida, testified
that in 2009, he witnessed an altercation between Levering and
an inmate named “Voss.” As noted above, the State contended
that Henderson shot Voss and Antonio Washington to retali-
ate for an assault on Henderson’s friend, Levering. Henderson
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argues his trial counsel provided ineffective assistance by fail-
ing to object to the Narvaez testimony on relevance grounds
until after it was complete and that his appellate counsel pro-
vided ineffective assistance by failing to contend the testimony
was irrelevant on appeal.
   Henderson cannot establish that he received ineffec-
tive assistance of counsel regarding the Narvaez testimony.
Contrary to Henderson’s assertion, the relevance and allegedly
prejudicial nature of the Narvaez testimony was addressed on
direct appeal. We specifically stated that the testimony was
“relevant to the State’s case and was not unfairly prejudicial.”
State v. Henderson, 289 Neb. 271, 301, 854 N.W.2d 616, 640
(2014). Because we have already rejected the evidentiary
objections that Henderson contends his counsel should have
raised, the record refutes Henderson’s claim that his appel-
late counsel failed to raise the issue of relevance on appeal,
and we need not revisit whether his trial counsel was ineffec-
tive in not objecting on relevance grounds during Narvaez’
testimony. See State v. Thorpe, 290 Neb. 149, 858 N.W.2d
880 (2015).

        7. A lleged Failure to R equest Lesser-Included
                       Offense Instruction
   Henderson was charged and convicted of the attempted
first degree murder of Antonio Washington. He claims his
trial counsel was ineffective in not requesting lesser-included
offense instructions on that charge. But, in fact, the trial
court did instruct the jury on the elements of second degree
murder and informed the jury that it could find Henderson
guilty of first degree murder or second degree murder or
find him not guilty. Furthermore, Henderson did not iden-
tify any other lesser-included offenses in his postconviction
motion or explain why the result of the proceeding would have
been different had the jury been instructed on those offenses.
Because Henderson’s allegations were not sufficiently specific
for the district court to make a determination as to whether an
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evidentiary hearing was required, the district court did not err
in denying Henderson’s claim without an evidentiary hearing.
See State v. Haynes, 299 Neb. 249, 908 N.W.2d 40 (2018).
                  8. A lleged Failure to Object
                       to Pictures of Coat
   Photographs of a coat were received at trial without objec-
tion. Testimony at trial established that the coat in the pho-
tographs was the Carhartt jacket worn by Henderson when
police apprehended him. The detective who identified the
photographs testified without objection that the coat had blood
on it. DNA testing was not performed on this blood, but as
noted above, DNA testing showed that Voss’ blood was on
Henderson’s shirt and shoes.
   Henderson asserts his counsel was deficient in failing to
make authentication or prejudice objections to the admission
of photographs of the coat. He noted that no evidence was pre-
sented that the blood on the coat was ever tested and matched
to either victim. Henderson claimed that allowing the jury to
see photographs of “an untested and supposedly blood-stained
article of clothing” denied him a fair trial.
   We fail to see how testimony that there was blood on
Henderson’s jacket prejudiced Henderson’s defense. Henderson
conceded that he was at the scene of the shootings. In addition,
Voss’ blood was found on Henderson’s shirt and shoes. Given
evidence that Henderson was not only present at the scene but
also sufficiently close to Voss to get Voss’ blood on his cloth-
ing, we do not believe additional testimony suggesting there
was blood on his coat “altered the evidentiary picture.” See
State v. Newman, 300 Neb. 770, 783, 916 N.W.2d 393, 407(2018). Accordingly, the district court did not err by denying
this claim without an evidentiary hearing.
             9. A lleged Failure to Investigate
                      Witness Tampering
  Henderson also claims that he received ineffective assist­
ance because his trial counsel did not pursue claims of witness
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tampering. In his postconviction motion, Henderson states that
although Antonio Washington testified that he did not know
Matthew Voss, their “families were close friends” and Voss’
mother asked Antonio Washington to do what he could to
keep Henderson in prison. Henderson says that this motivated
Antonio Washington to lie in his testimony at trial, but that
Henderson’s counsel did not investigate or pursue the matter
when Henderson reported it.
   We find that Henderson has not sufficiently alleged how an
investigation on the part of Henderson’s counsel would have
made a difference. Henderson has not described what would
have been discovered during any additional investigation or
explained what testimony of Antonio Washington was untrue
or how it made a difference to the result. Without such allega-
tions, he has failed to allege facts that would entitle him to an
evidentiary hearing. See State v. Haynes, supra.

                  10. A lleged Misstatement
                          of Testimony
   Henderson also claims his trial counsel misstated testi-
mony in a way that prejudiced his defense during his cross-
examination of Petrihos. Petrihos testified during his direct
examination that before the shooting, he saw an individual
pass something “metallic [and] black” to “a younger black
male,” later identified as Henderson. The following colloquy
between Petrihos and Henderson’s counsel then took place dur-
ing cross-examination:
        Q [by Henderson’s counsel]: And you’re that close to
     that and you — you couldn’t tell it was a gun?
        A [by Petrihos]: No, sir.
        Q: I think, in fact, you didn’t — you thought it might
     have been brass knuckles?
        A: It looked — something metal. I didn’t know. It
     [sic] didn’t — didn’t really think it was a gun. Didn’t
     really think — I don’t know — didn’t really think it was
     a gun.
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        Q: And you can’t tell us what this black male was
      wearing that was handed the gun?
        A: From a year ago? No, sir, I can’t.
   [15] Henderson argues that his counsel’s reference to the
object’s being a gun constituted ineffective assistance. The
record, however, affirmatively refutes Henderson’s claim. It
is apparent from the record that counsel was trying to cre-
ate doubt the object was a gun and doubt regarding Petrihos’
general credibility and that the reference to the object as a
gun was a momentary and inconsequential slip of the tongue.
Moments before, Henderson’s counsel asked Petrihos a lead-
ing question about whether he thought the object was a set of
brass knuckles and Petrihos responded that he did not think
it was a gun. Later, counsel again referred to the object as a
gun but immediately corrected himself. Moreover, the jury
was instructed that “[s]tatements, arguments, and questions
of the lawyers for the State and [Henderson]” are not evi-
dence. Absent evidence to the contrary, it is presumed that a
jury followed the instructions given in arriving at its verdict.
State v. McSwine, 292 Neb. 565, 873 N.W.2d 405 (2016).
Consequently, we conclude that the district court did not
err in denying an evidentiary hearing concerning trial coun-
sel’s misstatement.

            11. Failure   to A rgue State v. Tompkins
                                A ppeal
                               on
   Finally, Henderson alleges that his appellate counsel was
ineffective for not arguing that our opinion in State v. Tompkins,
272 Neb. 547, 723 N.W.2d 344 (2006), modified on denial of
rehearing 272 Neb. 865, 727 N.W.2d 423 (2007), precluded
us from finding, as argued by the State on direct appeal, that
text messages from the cell phone found on Henderson were
admissible under the good faith exception to the exclusionary
rule. Henderson contends that the State did not raise the good
faith exception at trial and that as a result, Tompkins precluded
the State from raising it on appeal.
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   It is not entirely clear that the State did not raise the good
faith exception to the trial court in some fashion. Although the
State cannot point to any indication in the record that it did, we
note that the record does show that Henderson’s counsel argued
at trial that the good faith exception did not apply. At the very
least, then, Henderson’s counsel was aware of the potential
applicability of the exception and took the opportunity to argue
against it.
   In any event, we do not need to determine whether the State
actually raised the good faith exception in the trial court in
order to resolve this assignment of error. In State v. Tompkins,
supra, the sole issue on appeal was whether an appellate court
may consider the good faith exception sua sponte. We con-
cluded that it may not, reasoning that if the court finds the
exception applies on the court’s own initiative, the defendant is
given no chance to make arguments to the contrary. Tompkins
thus does not answer the question of whether the State may
raise the good faith exception for the first time on appeal.
   In Tompkins, we did cite U.S. v. Hahn, 922 F.2d 243 (5th
Cir. 1991), a case in which a federal appellate court declined to
apply the exception because the prosecution had not raised the
issue before the trial court. Henderson seems to contend that
if his appellate counsel had cited Tompkins, we would have,
in reliance on Hahn, extended Tompkins to say that we could
not consider the good faith exception because it was not raised
at trial. But in fact, Hahn itself did not categorically hold that
the prosecution could never raise the good faith exception for
the first time on appeal. Rather, the court pointed out that the
defendant had “not had a fair opportunity to factually respond”
to the assertion of the good faith exception, and because of
that and other reasons unique to that case, “considerations of
fairness and the orderly administration of justice tip[ped] the
scales in favor” of not considering the good faith exception.
U.S. v. Hahn, 922 F.2d at 248.
   In this case, Henderson cannot claim that he did not have
an opportunity to factually address the potential applicability
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of the good faith exception. As noted above, his counsel
expressly argued at trial that the exception did not apply. Thus,
even assuming for the sake of argument that we could have
been convinced to follow Hahn, it would not have precluded
our consideration of the good faith exception in Henderson’s
direct appeal. Because the result of Henderson’s direct appeal
would have been no different had his counsel cited Tompkins,
we find no merit to this assignment of error.

                      V. CONCLUSION
  For the foregoing reasons, we affirm the order of the district
court denying Henderson’s motion for postconviction relief
without an evidentiary hearing.
                                                   A ffirmed.
  Freudenberg, J., not participating.
